             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                           1:21 CR 63

UNITED STATES OF AMERICA          )
                                  )
v.                                )
                                  )
YALEGWO KI SADONGEI,              )
                                  )
and                               )
                                  )
EASTERN BAND OF CHEROKEE INDIANS, )
             Garnishee.           )

                 WRIT OF CONTINUING GARNISHMENT

      GREETINGS TO:
              Eastern Band of Cherokee Indians
              Office of the Attorney General
              Hannah Smith, Senior Associate Attorney General
              Post Office Box 455
              Cherokee, North Carolina 28719
              hannsmit@nc-cherokee.com

      An Application for a Writ of Garnishment against the tribal gaming

proceed funds of the Defendant, Yalegwo Ki Sadongei, has been filed with this

Court. A judgment has been entered against the Defendant, dated October 14,

2022 (Doc. No. 43). The United States Clerk of Court balance of $1,273,464.15,

computed through November 29, 2022, is due and owing.

      You, as the Garnishee, are required by law to answer in writing, under

oath, within ten (10) days of service of this Writ, whether or not you have in

your custody, control or possession, any property or funds owned by the



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Defendant, including non-exempt, disposable earnings and tribal gaming

proceed funds.

      You must withhold and retain any property in which the Defendant has

a substantial non-exempt interest and for which you are or may become

indebted to the Defendant pending further order of this Court. See 15 U.S.C. §

1673(a).

      Please state whether or not you anticipate paying the Defendant any

future payments and whether such payments are weekly, bi-weekly, monthly,

annually or bi-annually.

      You must file the original written Answer to this Writ within ten (10)

days of your receipt of this Writ with the following office:

                   Clerk of the United States District Court
                          Room 309, 100 Otis Street
                              Asheville, NC 28801

      Additionally, you are required by law to serve a copy of the Answer upon

Defendant at his or her last known address:

                         Yalegwo Ki Sadongei #59105-509
                                  USP Atlanta
                                P.O. Box 150160
                               Atlanta, GA 30315

      You are also required to serve a copy of the Answer upon the Plaintiff at

the following address:

                          United States Attorney’s Office
                            Financial Litigation Unit



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                      227 West Trade Street, Suite 1650
                       Charlotte, North Carolina 28202

      Under the law, there is property which is exempt from this Writ of

Garnishment. Property which is exempt and which is not subject to this order

may be listed on the attached Claim for Exemption form.

      Pursuant to 15 U.S.C. § 1674, the Garnishee is prohibited from

discharging the Defendant from employment by reason of the fact that his

earnings have been subject to garnishment for any one indebtedness.

      Pursuant to 28 U.S.C. § 3205(c)(6), if you fail to answer this Writ or fail

to withhold property or funds in accordance with this Writ, the United States

of America may petition the Court for an order requiring you to appear before

the Court. If you fail to appear or do appear and fail to show good cause why

you failed to comply with this Writ, the Court may enter a judgment against

you for the value of the Defendant’s non-exempt interest in such property. The

Court may award a reasonable attorney’s fee to the United States and against

you if the Writ is not answered within the time specified. It is unlawful to pay

or deliver to the Defendant any item attached by this Writ.


                                Signed: December 1, 2022




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                     CLAIM FOR EXEMPTION FORM
          MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. § 3613)

_____1.      Wearing apparel and school books.--Such items of wearing apparel
             and such school books as are necessary for the debtor or for
             members of his family.

_____2.      Fuel, provisions, furniture, and personal effects.--So much of the
             fuel, provisions, furniture, and personal effects in the Debtor's
             household, and of the arms for personal use, livestock, and poultry
             of the debtor, as does not exceed $10,090 in value.

_____3.      Books and tools of a trade, business, or profession.--So many of the
             books, and tools necessary for the trade, business, or profession of
             the debtor as do not exceed in the aggregate $5,050 in value.

_____4.      Unemployment benefits.--Any amount payable to an individual
             with respect to his unemployment (including any portion thereof
             payable with respect to dependents) under an unemployment
             compensation law of the United States, of any State, or of the
             District of Columbia or of the Commonwealth of Puerto Rico.

_____5.      Undelivered mail.--Mail, addressed to any person, which has not
             been delivered to the addressee.

_____6.      Certain annuity and pension payments.--Annuity or pension
             payments under the Railroad Retirement Act, benefits under the
             Railroad Unemployment Insurance Act, special pension payments
             received by a person whose name has been entered on the Army,
             Navy, Air Force, and Coast Guard Medal of Honor roll (38 U.S.C.
             §1562), and annuities based on retired or retainer pay under
             Chapter 73 of Title 10 of United States Code.

_____7.      Workmen’s Compensation.--Any amount payable with respect to
             compensation (including any portion thereof payable with respect
             to dependents) under a workmen’s compensation law of the United
             States, any State, the District of Columbia, or the Commonwealth
             of Puerto Rico.

_____8.      Judgments for support of minor children.--If the debtor is required
             by judgment of a court of competent jurisdiction, entered prior to
             the date of levy, to contribute to the support of his minor children,
             so much of his salary, wages, or other income as is necessary to



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            comply with such judgment.

_____9.     Certain service-connected disability payments.-- Any amount
            payable to an individual as a service-connected (within the
            meaning of section 101(16) of Title 38, United States Code)
            disability benefit under--(A) subchapter II, III,IV, V, or VI of
            Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34,
            35,37, or 39 of such Title 38.

_____10.    Assistance under Job Training Partnership Act.
            --Any amount payable to a participant under the Job Training
            Partnership Act (29 U.S.C. §1501 et seq.) from funds appropriated
            pursuant to such Act.

The statements made in this claim of settlement to exemptions and request for
hearing as to exemption entitlement and fair market value of the property or
funds designated are made and declared under penalty of perjury that they are
true and correct.

      I hereby request a Court hearing to decide the validity of my claims.
Notice of the hearing should be given to me by mail at:


(_______________________________________________________________)
      Address


or telephonically at (_____)______________
                 Phone No.


________________________________
Defendant’s printed or typed name


________________________________
Signature of the defendant       Date




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